                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

RACHELLE BEAUBRUN, et al.,

      Plaintiffs,
v.                                            Case No. 5:19-cv-00615-TJC-PRL

UNITED STATES OF AMERICA,

      Defendant.
                                    /

                    NOTICE OF APPROVAL OF SETTLEMENTS

      The United States of America, by and through the undersigned Assistant United

States Attorneys, pursuant to the Court’s February 22, 2021 Order (Doc. 74), notifies

the Court that the settlements in this case with each of the Plaintiffs have been

approved by the Acting Assistant Attorney General, the appropriate designee of the

Attorney General of the United States in this matter.


Dated May 3, 2021.                             Respectfully submitted,

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